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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

KLAYMAN etal., )
)
Plaintiffs, )
)
v. ) Civil Action No. 13-0851 (RJL)
)
OBAMA et al., )
)
Defendants. ) F I E D
DEC 1 6 2013
KLAYMAN et al., ) Clark, U.S. District & Bankruptcy
) Courts for the District of Columbia
Plaintiff, )
)
Vv )
)
OBAMA et al., )
)
Defendants. )

 

ORDER
For the reasons set forth in the Memorandum Opinion entered this date, it is this
(Gr day of December, 2013, hereby
ORDERED that the Motion for Preliminary Injunction in Klayman v. Obama,
Civil Action No. 13-0851 (Klayman I) [Dkt. # 13], is GRANTED as to plaintiffs Larry
Klayman and Charles Strange and DENIED as to plaintiff Mary Ann Strange; it is
further |

ORDERED that the Government:
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(1) is barred from collecting, as part of the NSA’s Bulk Telephony
Metadata Program, any telephony metadata associated with Larry
Klayman’s and Charles Strange’s personal Verizon telephone
subscriptions; and
(2) must destroy all such metadata already collected under the Bulk
Telephony Metadata Program; it is further
ORDERED that the Motion for Preliminary Injunction in Klayman v. Obama,
Civil Action No. 13-0881 (Klayman IT) [Dkt. # 10] is DENIED; and it is further

ORDERED that this Order is STAYED pending appeal.

!

RICHARD J.
United States District Judge
